         Case 3:15-cr-00228-DB Document 1134 Filed 01/26/18 Page 1 of 4




                                                                                                          -
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS                                2fl18   J$4 26    4
                                        VT PASfl 1)IV1IflN
                                                                                                              I   50

  UNITED STATES OF AMERICA,                        §                                                (iC
                                                   §
                Plaintiff,                         §                                                flET
  v.                                               §   CRIMINAL NO. EP-15-CR-0228-DB
                                                   §
  DALIA VALENCIA, a.k.a. Dalia                     §
  Velasco, a.k.a. Dalia Krantz, a.k.a. Dalia       §
  Krantz-Valencia (10),                            §
                                                   §
                Defendant.                         §



         FINAL ORDER OF FORFEITURE AS TO REAL PROPERTY LOCATED
                  AT 2013 THUNDER RIDGE. EL PASO, TEXAS

       WHEREAS, on March 13, 2017, this Court entered a "Preliminary Order of Forfeiture" (ECF

No. 939), finding that the United States had established by a preponderance of the evidence that the

below-listed property is forfeitable pursuant to 18 U.S.C.   §   1963, as property constituting and derived

from proceeds obtained as a result the conspiracy offense charged in Count One of the Fourth

Superseding Indictment, EP-15-CR-0228-DB, to which Defendant DALIA VALENCIA (the

"Defendant") pled guilty:

       Real property and appurtenances located at 2013 Thunder Ridge Drive, El Paso, Texas
       79938, with all improvements and attachments thereon

(hereinafter referred to as the "Subject Property"); and

WHEREAS, the Subject Property is also known as:

       Lot 30, Block 7, Sun Ridge Subdivision Unit 2, an Addition to the City of El Paso, El
       Paso County, Texas, according to the plat thereof on file in Volume 70, Page 42, Real
       Property Records, El Paso County, Texas; and

       WHEREAS, in the Preliminary Order of Forfeiture, this Court ordered forfeiture of all of the

Defendant's right, title and interest in the Subject Property to the United States; and
          Case 3:15-cr-00228-DB Document 1134 Filed 01/26/18 Page 2 of 4




         WHEREAS, in the Preliminary Order of Forfeiture, this Court found that the Defendant has

an interest in the Subject Property; and

         WHEREAS, for at least 30 consecutive days, beginning March 18, 2017, the United States

caused publication on an official internet government forfeiture site (www.forfeiture.gov) of notice

of the Preliminary Order of Forfeiture and of the United States' intent to dispose of the Subject

Property in such manner as the Attorney General may direct, and notice that any third parties claiming

an interested in the forfeited property must file a petition with the Court within sixty (60) days from

the commencement of said publication for a hearing to adjudicate the validity of their alleged legal

interest in the property; and

         WHEREAS, a Declaration of Publication was filed on April 18, 2017 (ECF No. 1008); and

         WHEREAS, the United States served a copy of the "Preliminary Order of Forfeiture" (ECF

No. 939) and the "Direct Notice of Preliminary Order of Forfeiture" (ECF No. 93 0-1), as set forth

below:

         a.     On or about May 19, 2017, the USMS posted notice of the forfeiture on the Subject
                Property.

         b.     On or about May 18, 2017, the USMS served notice of the forfeiture on the El Paso
                Central Appraisal District, Dinah L. Kilgore, Executive Director/Chief Appraiser.

         c.     On or about May 18, 2017, the USMS served notice of the forfeiture on the El Paso
                Tax Assessor, Maria Pasillas, Tax Assessor Collector.

         d.     On or about May 18, 2017, the USMS served notice of the forfeiture on Carmen Perez,
                as Attorney for the El Paso Taxing Authorities, Sandra Bohn, Receptionist.

         WHEREAS, the Direct Notice of Preliminary Order of Forfeiture advised that any person,

other than the defendant, asserting a legal interest in the Subject Property must file a petition within

35 days   of the final publication of notice or receipt of notice, whichever   is earlier, pursuant to Rule

32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C.     §   853(n); and
                                                    2
             Case 3:15-cr-00228-DB Document 1134 Filed 01/26/18 Page 3 of 4




         WHEREAS, only one petition has been filed in this case as to the Subject Property, and said

petition has been resolved, as set forth below:

         a.        On or about April 12, 2017, The City of El Paso, El Paso County, Texas, Horizon City,
                   Clint I.S.D., El Paso Community College, El Paso County Emergency Services
                   District #1, University Medical Center Socorro I.S.D., City of El Paso, and Horizon
                   Regional M.U.D. (hereinafter referred to as the "Taxing Authorities"), filed a petition
                   asserting an interest in the Subject Property for ad valorem property taxes owed on the
                   property. (ECF No. 1004). The United States acknowledges the ad valorem taxes if
                   any, owing to El Paso County.

         WHEREAS, the United States is not aware of any other person who reasonably appears to be

a potential claimant with standing to contest the forfeiture, and any and all other potential claimants

were served through publication; and

         WHEREAS, no other petitions to contest the forfeiture of the Subject Property have been filed

and the time period in which to do so has expired, see Fed. R. Crim. P. 32.2(b)(6)(C) and Supp. R.

G(5)(a)(ii)(B) (petition must be filed with the court no later than sixty days after the first day of

publication on an official internet government forfeiture site); 21 U.S.C.       §   853(n)(2) (any person,

other than the defendant, may, within thirty days of the final publication of notice or his receipt of

notice, whichever is earlier, petition the court for a hearing to adjudicate the validity of his alleged

interest in the property); and

         WHEREAS, pursuant to 21 U.S.C.          §   853(n)(7), the United States shall have clear title to

forfeited property if no petitions for a hearing to contest the forfeiture have been filed within 30 days

of final publication of notice or receipt of direct written notice, whichever is earlier, as set forth in 21

U.S.C.   §    853(n)(2);
         Case 3:15-cr-00228-DB Document 1134 Filed 01/26/18 Page 4 of 4




       NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that:

       1.      Any and all right, title, and interest of Defendant DALIA VALENCIA in the Subject

Property shall be, and the same hereby is, forfeited to the United States of America.

       2.      Any and all right, title, and interest in the Subject Property of any and all other

potential petitioners who were served through publication, shall be, and the same hereby is, forfeited

to the United States of America.

       3.      All right, title and interest of any and all other potential petitioners in the Subject

Property is forfeited to and vested in the United States of America and the United States of America

shall be and hereby, deemed to have clear title to the Subject Property, save and except for the interest

of the Taxing Authorities, as recognized by the United States as to the ad valorem, if any, owed to El

Paso County, Texas.

       4.      The United States of America, through its lawfully designated agents and agencies,

including but not limited to the United States Marshals Service and the Drug Enforcement

Administration, shall dispose of the Subject Property in accordance with law.

       5.      All terms and provisions contained in this Court's Preliminary Order of Forfeiture

entered on March 13, 2017 (ECF No. 939), in so much as may be applicable and consistent with this

Order, shall remain in full force and effect.

       IT IS SO ORDERED.

       SIGNED this       'I   day of January 2018.



                                                HONV
                                                SENIOR/TED
                                                                     ID BRIONES
                                                                   STATES DISTRICT JUDGE




                                                     4
